 

Case 1:17-cv-O4902-RWS Document 64 Filed 12/14/17 Page 1 of 3
Case l:l7-cv-04902-RWS Document 63 Filed 12/13/17 Page l of 3

IN THE UNITED STATES DISTRICT COURT ' »'
FOR THE SOUTHERN DISTRICT OF NEW YORK `

HAILO TECHNOLOGIES, LLC,

Plaintiff, , _

V' Case No. 1:17-cv-4902-RWS
ARRO, INC. and CREATIVE MOBILE JURY TRIAL DEMANDED
TECHNOLOGIES, LLC,

Defendant.

 

JOINT NOTICE OF WRITTEN STATUS REPORT

Pursuant to this Court’s September 15, 2017 Memo Endorsement Granting Motion to Stay,
Plaintiff Hailo Technologies, LLC, and Defendants Arro, Inc. (“Arro”) and Creative Mobile
Technologies, LLC (“CMT”) (collectively, the “Parties”), hereby jointly submit this Written Status
Report. (See Dkt. # 58).

On August 30, 2017, Plaintiff Hailo Technologies submitted a Request for Supplemental
Examination to the United States Patent and Trademark Office (“USPTO”) identifying eleven (l l)
items of information for the USPTO’s consideration. The USPTO subsequently provided notice to
the patent owner by way of his counsel of record, Cotman IP Law Group, PLC, identifying the
assignment ofa filing date of October 5, 2017 and Control No. 96/000,234.

On November 9, 2017, the USPTO mailed to the patent owner a Supplemental Examination
Certiflcate and Reasons for Substantial New Question of Patentability Determination. The
Supplemental Examination Certificate stated that a substantial new question of patentability
affecting at least one claim of U.S. Patent No. 6,756,913 (“the ‘913 Patent”) was raised by the
Request. Accordingly, as of the issuance of the Supplemental Examination Certiflcate, the

Supplemental Examination proceeding is deemed concluded. MPEP § 2806.

 

 

' /€
§§ 7 q/Qe</V¢/(/§ ar

/;_/<,L~/>

 

 

 

 

 

 

Case 1:17-cy¢Q4902-RWS Document 64 Filed 12/14/17 Page 2 of 3
Case 1:17-cv~04902-RWS Document 63 Filed 12/13/17 Page 2 of 3

Because a substantial new question of patentability was raised in the Supplemental
Examination, ex parte reexamination has been ordered pursuant to 35 U.S.C. § 257. As of the
filing of this Written Status Report, an order for ex parte reexamination has not yet issued.

Pursuant to the Court’s September 15, 2017 Order, the Court granted a stay of all deadlines
until the USPTO reached its conclusion following the institution of the Request for Supplemental
Examination. The purpose of the Supplemental Examination was to determine whether or not
there was a substantial new question of patentability. The USPTO determined that that there was
a substantial new question, and has ordered an ex parte reexamination Accordingly, the USPTO
proceedings have not reached their completion, and thus the Parties request that the Stay should
remain in place until the ex parte reexamination is concluded.

DATED: December 13, 2017 Respectfully submitted,

/s/ T odd Y. Brandt

Todd Y. Brandt

TX SB # 24027051

BRANDT LAW FIRM

222 North Fredonia St
Longview, Texas 75601
Telephone: (903) 212-3130
Facsimile: (903) 753~6761
tbrandt@thebrandtlawflrm.com

Attomeysfor Hailo Technologies, LLC

/s/ Evan Bua'ai

Benjamin L. Singer
bsinger@singerbea.com

Evan Budaj
ebudaj@singerbea.com
SINGER/BEA LLP

601 Montgomery St., Suite 1950
San Francisco, CA 941 11
Telephone: (415) 500-6080
Facsimile: (415) 500-6080

Attorneysfor Defendants Arro, Inc. and
Creative Mobl'le Technologies, LLC

 

Case 1:17-cv-O4902-RWS Document 64 Filed 12/14/17 Page 3 of 3
Case 1:17~cv-O4902'RWS Document 63 Filed 12/13/17 Page 3 of 3

CERTIFICATE OF SERVICE

1 hereby certify that counsel of record who are deemed to have consented to electronic
service are being served this 13th day of December, 2017, with a copy of this document via the
Court’s CM/ECF system per Local Rule CV-S(a)(3). Any other counsel of record will be served
by electronic mail, facsimile transmission and/or first class mail on this same date.

/s/ Todd Y. Brandt
Todd Y. Brandt

 

